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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:11CR401
                       Plaintiff,                 )
                                                  )
       vs.                                        )              ORDER
                                                  )
AGAPITO AGUILAR-SOSTENES and                      )
TRAVIS R. CHISHOLM,                               )
                                                  )
                       Defendants.                )
       This matter is before the court on the motion to continue by defendant Travis R.
Chisholm (Chisholm) (Filing No. 35). Chisholm seeks a continuance of the trial of this
matter which is scheduled for March 12, 2012. The court held a telephone conference with
counsel on February 17, 2012. James K. McGough represented Chisholm. First Assistant
Federal Public Defender Shannon P. O’Connor and Reginald L. Young represented
Aguilar-Sostenes. Assistant U.S. Attorney Meredith B. Tyrakoski represented the United
States. Counsel for the government and counsel for Aguilar-Sostenes had no objection
to the motion. Mr. McGough represented that Chisholm will file an affidavit wherein he
agrees to the motion and understand the additional time will be excluded under the Speedy
Trial Act. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Chisholm's motion to continue trial (Filing No. 35) is granted.
       2.     Trial of this matter as to both defendants is re-scheduled for April 9, 2012,
before Judge Joseph F. Bataillon and a jury. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between February 17, 2012, and April 9, 2012, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason
that defendants' counsel require additional time to adequately prepare the case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).
       DATED this 17th day of February, 2012.
                                                  BY THE COURT:

                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
